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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


                                                   No. 2:24-cv-07791-BRM-CLW (Consolidated)
  In re Selenious Acid Litigation
                                                           Document Electronically Filed

                                                   PLAINTIFF’S NOTICE OF MOTION FOR
                                                      A PRELIMINARY INJUNCTION

                                                        ORAL ARGUMENT REQUESTED


         PLEASE TAKE NOTICE that on February 18, 2025, or a date and time to be set by the

  Court, Plaintiff American Regent, Inc. (“ARI”), by and through its undersigned counsel, shall

  move before the Honorable Brian R. Martinotti, U.S.D.J., at the United States District Court for

  the District of New Jersey, Frank Lautenberg Post Office & U.S. Courthouse, 2 Federal Square,

  Courtroom PO 01 Newark, New Jersey 07102 for an Order granting a preliminary injunction
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  pursuant to Federal Rule of Civil Procedure 65(a) and Local Civil Rule 65.1(a), against

  Defendants.1

          PLEASE TAKE FURTHER NOTICE that, in support of its motion, ARI shall rely on

  their accompanying Brief, Declarations, and Exhibits, as well as all other pleadings and papers on

  file in this action.

          PLEASE TAKE FURTHER NOTICE that a certification attesting to the date and

  manner of service is also submitted herewith.

          PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted

  herewith.

          PLEASE TAKE FURTHER NOTICE that oral argument is requested.




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   ARI originally sued fourteen Defendants. See American Regent, Inc. v. Accord Healthcare, Inc.,
  C.A. No. 2:24-cv-07791-BRM-CLW; American Regent, Inc. v. Aspiro Pharma Ltd., C.A. No. 24-
  cv-07794-BRM-CLW; American Regent, Inc. v. Cipla USA, Inc. et al., C.A. No. 2:24-cv-07796-
  BRM-CLW; American Regent, Inc. v. Dr. Reddy’s Laboratories, Ltd et al, C.A. No. 2:24-cv-
  07799-BRM-CLW; American Regent, Inc. v. Eugia Pharma Specialities Ltd. et al., C.A. No. 2:24-
  cv-08956-BRM-CLW; American Regent, Inc. v. Fresenius Kabi USA, LLC, C.A. No. 2:24-cv-
  07801-BRM-CLW; American Regent, Inc. v. Gland Pharma Limited, C.A. No. 2:24-cv-07802-
  BRM-CLW; American Regent, Inc. v. Hikma Pharmaceuticals USA, Inc., C.A. No. 2:24-cv-
  07803-BRM-CLW; American Regent, Inc. v. Long Grove Pharmaceuticals, LLC, C.A. No. 2:24-
  cv-07804-BRM-CLW; American Regent, Inc. v. RK Pharma, Inc., C.A. No. 2:24-cv-07805-BRM-
  CLW; American Regent, Inc. v. Somerset Therapeutics, LLC et al., C.A. No. 2:24-cv-07807-BRM-
  CLW; American Regent, Inc. v. Sun Pharmaceutical Industries Limited et al., C.A. No. 2:24-cv-
  07810-BRM-CLW; American Regent, Inc. v. Xiromed, LLC et al., C.A. No. 2:24-cv-07811-BRM-
  CLW; American Regent, Inc. v. Zydus Pharmaceuticals (USA) Inc., C.A. No. 2:24-cv-07812-
  BRM-CLW. Four defendants entered into a consent judgment or dismissal—Long Grove,
  Steriscience, Fresenius, and Eugia—leaving Aspiro, Gland, Somerset, Accord, Zydus, Xiromed,
  DRL, Cipla, Hikma, Sun Pharma, and RK Pharma as the remaining consolidated Defendants.
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   Dated: January 16, 2025
                                                   s/ Charles H. Chevalier
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